           Case 1:22-cr-00673-LAK Document 105 Filed 03/08/23 Page 1 of 3




Mark S. Cohen
+1 (212) 957-7600
mcohen@cohengresser.com


Christian R. Everdell
+1 (212) 957-7600
ceverdell@cohengresser.com



                                                         March 8, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        On behalf of our client, Samuel Bankman-Fried, we respectfully submit this letter in
advance of the conference on March 10, 2023, to raise certain issues related to (1) Mr. Bankman-
Fried’s bail conditions, (2) Mr. Bankman-Fried’s access to the FTX transactional database, and
(3) the motions schedule and the status of discovery that we would like to discuss with the Court
at the upcoming conference.

        Bail Conditions: The Government submitted a letter to the Court on March 3, 2023,
outlining the parties’ joint proposal for modifications to Mr. Bankman-Fried’s bail conditions.
ECF No. 100. Included in that letter was a list of approved websites that Mr. Bankman-Fried
may access. The defense inadvertently omitted from that list Cohen & Gresser’s ShareFile
website, which we use to share documents with our client. Accordingly, we respectfully request
that the Cohen & Gresser ShareFile website be added to the list of approved websites. The
Government has no objection to this request.

        Access to the FTX Transactional Database: As part of the criminal discovery, the parties
have worked extensively with counsel for the FTX Debtors to provide Mr. Bankman-Fried
access to the FTX transactional database (hereinafter, the “AWS Database”) in a secure manner
with several layers of monitoring capabilities to satisfy the concerns of the FTX Debtors. That
process has taken several weeks to complete. Per the security protocols required by the FTX
Debtors, Mr. Bankman-Fried may only access the AWS Database via a secure Internet
connection using a Virtual Private Network (“VPN”) on a dedicated laptop. The defense has
built a custom laptop with the security protocols required by the FTX Debtors and has been
ready to send it to Mr. Bankman-Fried for some time. However, the current bail conditions
prohibit Mr. Bankman-Fried from using a VPN for any purpose. See ECF. Nos. 68, 82. As a
           Case 1:22-cr-00673-LAK Document 105 Filed 03/08/23 Page 2 of 3




The Honorable Lewis A. Kaplan
March 8, 2023
Page 2


  result, Mr. Bankman-Fried has not yet been able to begin reviewing the AWS Database, which is
  a substantial and critically important component of the discovery.

          We anticipate that Mr. Bankman-Fried’s use of VPNs will be worked out in connection
  with the proposed modifications to his bail conditions. However, depending on the resolution, it
  may take some time before a new laptop computer can be built according to the specifications
  that the Court may impose. Accordingly, we respectfully request that the Court order that, in the
  interim, Mr. Bankman-Fried may use the laptop computer that has already been built, which will
  be configured to allow him to access the AWS Database, and no other websites, via a secure
  VPN connection. The Government has no objection to this request.

          Motions Schedule and Discovery: Under the current motions schedule, the defense’s
  pretrial motions are due April 3, 2023; the Government’s response is due April 24, 2023; and the
  defense’s reply is due May 8, 2023. As the Court is aware, the Government recently superseded
  the indictment against Mr. Bankman-Fried and added, among other things, several new counts
  including fraud in connection with the purchase and sale of derivatives (Count Four), securities
  fraud (Count Six), conspiracy to commit bank fraud (Count Nine), and conspiracy to operate an
  unlicensed money transmitting business (Count Ten).

          We also understand from the Government that we have not yet received a substantial
  portion of the discovery, including, among other things, the search warrant returns from thirty
  (30) different Google accounts and the contents of at least four different electronic devices,
  including an iPhone belonging to Caroline Ellison, a laptop computer belonging to Zixiao
  “Gary” Wang, and laptop computers belonging to two other former FTX/Alameda employees.
  The defense has asked the Government to provide a full inventory of discovery left to be
  produced and a rough schedule for when we can expect to receive the outstanding materials. The
  Government has represented that it will be making a substantial production soon. Given the
  nature and source of these materials, which includes the contents of electronic devices belonging
  to two of the Government’s cooperating witnesses, we anticipate that the next production
  (combined with any future productions) will be voluminous and critically important to the
  defense.

         In light of the superseding indictment and the substantial amount of discovery yet to be
  produced to the defense, we respectfully request an adjournment of the motions schedule to the
  dates below. The Government has consented to this schedule:

                        Defense Pretrial Motions Due:        May 1
                        Government Response Due:             May 22
                        Defense Reply Due:                   June 5

  The defense also notes that, depending on the volume of the additional discovery and the timing
  of the productions, it may be necessary to request an adjournment of the trial, currently
  scheduled to begin on October 2, 2023. While we are not making such an application at this
           Case 1:22-cr-00673-LAK Document 105 Filed 03/08/23 Page 3 of 3




The Honorable Lewis A. Kaplan
March 8, 2023
Page 3


  time, we wanted to note this issue for the Court now in case we need to revisit this issue after
  receiving the additional discovery.

         We look forward to discussing these issues further at the conference on March 10, 2023.

                                                     Respectfully submitted,


                                                       /s/ Christian R. Everdell      .
                                                     Mark S. Cohen
                                                     Christian R. Everdell
                                                     COHEN & GRESSER LLP
                                                     800 Third Avenue, 21st Floor
                                                     New York, New York 10022
                                                     (212) 957-7600
                                                     mcohen@cohengresser.com
                                                     ceverdell@cohengresser.com

  cc:   All counsel of record (via ECF)
